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Case 1-17-46613-nh| Doc 48-1

Bank

America's Most Convenient Bank°

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BRACHA CAB CORP

DlP CASE 17-46613 EDNY
1281 CARROLL ST
BROOKLYN NY 11213

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Chapter 11 Checking

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l)ll’CAS]'I l7-466]3 EDNY

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STATEF‘.&ENT OF ACCOUNT

Page: 1 of2
Statement Pc-:riod: Feb 01 2018-Feb 28 2018
Cust Ref #-: -

Primary Account #.'

Account #

 

 

 

 

 

 

ACCOUNT SUMMARY
Beginning Balance 3,966.56 Average Co|lected Bafance 6,166.56
E|ec’cronic Deposits 2,200.00_ v rl{_\_tere§t_ Ear_ned ']_'_i}j§ P_<_a_r_iod 0.00
" ' ' |nterest Paid Year-to-Date O.DD
Ending Ba|ance 6,166.56 Annua| Percentage Yie|cl Earned 0.00%
Days in Period 28
DA|LY ACCOUNT ACTEVLTY
E|ectronic Deposits
POSTING nme uEscr-:lP'rlc)N .o.moum
02/01 CCD DEPOS!T, WA|L!NG MGN|T LESEE FEES 2,200.00
Subtota|: 2,200.00
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n_:\'r§ BALANCE ome BA\.ANCE
01/31 3,966.56 02/01 6.166.56

Ca!| 1-300-93?-2000 for 24~|101_11' Barlk-by-Phcme Senfices or connect to www.tdbank.com

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- DABR| TRANS CORP Page: 1 of 2
` DIP CASE 17-46618 EDNY Statement Period: Feb 01 on'm_r:ah on 9n1a
1281 CARROLL ST Cqst Ref #: ___ .__
"" BROOKLYN NY 11213 PrlmaryAccount#;

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Chapter 11 Checking

lmraer TP_ANS com Account #
DIP CASE 17466]15' Iil)N\’

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ACCOUNT SU[».'H\.":ARY

 

Beginning Balance 11,166.56 Average Co||ected Ba|ance 11 ,266.56
Electronic Deposifs 2,800.00 interest Eamed This Period 0.00
- rnterest Paid Year-to-Date " ' D.OD
Ending Balance 13,966.56 Annua| Percentage Yie|d Earned 0.00%
Days in Period 28

 

DAlL\' ACCOUNT AcTwlTY
E|ectronic Deposits

PosTING nme DESCR!PT\QN Amoum
02/28 CCD DEPOS|T, ACL MEDALL|ON CORP PAY 442 443 2,800.00
Subtota|: 2,800.00

 

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01/31 11 ,166.56 02/28 13,966.56

 

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Case 1-17-46613-nh| DOC 48-1

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D|P CASE17»46614 EDNY
1281 CARROL.L. ST
BROOKLYN NY 11213

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Chapter 11 Checking
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l)fP CASl~`. 17-1661~5 EDNY

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STATE i`=."|ENT OF ACCOUNT

Page; 1 of2
Statement Period: Feb 01 2018-Feb 28 2018
Cust Ref #:

Primary Account #:

Account #

 

ACCOUNT SUM 111ARY

 

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Beginn'lng Ba|ance 4,366.56 Average Collected Balance 6,766.56
E|ectronic Deposits 2,400.00 |nteresi Earned This Period 0.00
f - |merest Paid Ye'ar-to'-Date

Ending Ba|ance 6,766.56 Annua| Percentage ¥ie|d Earned 0.00%
Days in Period 28

DA¢LY ACCOUP-:»T ACT|VITY

Electronic De posits

PosTiwca nATE DESchTloN honolsz

02/01 CCD DEPOS|T, WA[L|NG MGMT LESEE FEES 2,400.00

Subtota|: 2,400.00

Di\:a_\' BALANCE SUM mARY

nme BAL;\r-JCE DATE BALANL:E

01!31 4,366.56 02/01 6.766.56

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Case 1-17-46613-nh| DOC 48-1

 

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FlT TAX| CORP

D|P CASE 17“44620 EDNY
1281 CARROLL ST
BROOKLYN NY 11213

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Chapter 11 Checking
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Page: 1 of 2
Statement Period: Feb 01 2018-Feb 28 2018
Cust Ref #:

Primary Account #:

Account #

 

 

 

 

 

 

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ACCOUNT SUMMARY
Beginning Ba|ance 12.166.56 Average Collected Balance 12,273.70
E|ectronic Deposits 3,000.00 |nterest Eamed This Period 0.00
'* ' " ' f ' Interest Paid Year-to'-Date '0.00
finding Ba|ance 15,166.56 Annual Percentage Yie|d Earned 0.00%
Days in Period 28
DA|L\_' ACCC)UNT AchV!TY
E|ectronic Deposits
PosTl.=\.'G DmE DESCR\PY\QN AMOUNT
02/28 CCD DEPOS[T, ACL IVIEDALL|ON CORP PAY 450 451 452 3,000.00
Subtota|: 3,000.00
D.i\zL‘r E.ALAN@ E Sum NJAR 1'
owe BAL:.\NCE DATE BALANCE
01/31 12,166.56 02/28 15,166.55

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JACKHEL CAB CORP Page: . 1 of 2
DIP CASE 17-46646 EDNY Statement Period: Feb 01 2018-Feb 28 2018
1281 CARROLL ST Cust Ref #:

BROOKLYN NY 11213 PrimaryAccount #:

Chapter 11 Checking

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ACCOU NT SU MMARY

Beginning Ba|ance 9,566.57 Average Coliected Ba|ance 11 ,441.57

Elecironic Deposits 2.500.00 interest Eerned This Period 0.00
mterest Paid Year-to'-Date ' " '0.00

Ending Balance 12.066.57 Annua| Percentage Yield Earned 0_00%
Days in Period 28

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E|ectronic Deposits

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02/08 CCD DEPOS!T, NAPASEl MANAGEME ACH PMT 5032569288 2,500.00

Subtota|: 2,500.00

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01!31 9,566.57 02!08 12,066.57

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Case 1-17-46613-nh| Doc 48-1

 

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JARUB TRANS CORP

D|P CASE. 17-46639 EDNY

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STATET\‘¥ENT OF ACCOUNT

Page: 1 of 2
Statement Period: Feb 01 2018-Feb 28 2018

 

 

 

 

 

 

1281 CARROLL ST Cus't Ref #_'
BROOKLYN NY 11213 PrimaryAccount#:
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Chapter 11 Checking

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Dn> case 17-46639 EDNY

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Beginning Ba|ance 2,716.56 Average Cotlected Balance 4,966.56

Etectronic Deposits 3,000.00 |ntere_s_t_ _Earned Th_is Period 7 _ 0.00_

" 2 ` ` ` ' ' ' ' " " " " ` " ` |nterest PaidYear-to-Date 0,00

Ending Ba|ance 5,716.56 Annual Percentage Yie|d Earned 0.00%
Days in Period 28

DA|L‘¢' AccOLJNT ACTtVrTY

E|ectronic Deposits

PosTtr-te came oeecm.crlon Ar\-toum

02/08 CCD DEPOSlT, NAPASE| MANAGEN|EACH PN|T 5032569295 3,000.00

Subtota|: 3,000.00

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01/31 2,716.56 02/08 5,716.56

1-800~`,-3?'-2000 for 2k1-hour Bank-by-P`none Servicee or connect to Www.tdbank.com

 

 

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Commercia| Banking Group

CASH MANAGEMENT CHECK|NG MDNEY MARKET CDS LUANS

 

UPGR b Contact your Re|ationship Manager to discuss
JARUB TRANS CORP 295917 targeted solutions for your evolving business needs.

1281 CARROLL STREET
BROOKLYN NY 11213

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ACCOUNT SU!V|MARY FOR PERloD FEBRuARY 01, 2013 ~ FEBnuARY ze, 2918

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JARuB mANs col_§P_

 

Previous Ba|ance 01/31/18 $1,226.00 Number of Days in Cyc|e 28
0 Deposits/Credits $0.00 Nlinimum Balance This Cyc|e $1,214.00
0 Checks/Debits $0.00 Average Co||ected Balance $1,226.00
Service Charges ($12.00)
Ending Ba|ance 02/28!18 $1,214.00

ACCOUNT DETA|L FoR PERloD FEBRUARY 01,2018 - FEBRuARYzB. 2018

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Date Descripf:'on

JARUB TRANS CORP

nw DeEosifi/§rgdits Withdrawa:'leebr'ts Resu!tr'ng Balance

 

02/28 Maintenance charge n

$12.00 $1,214.00

 

Total 50.00

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SERV[C§ CHARGES

512.00

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Date $ervr'ce Description Nu_mber of ltems Fee per item Total
02/_28 Maintenance charge f 7 ii n _ ___ ¢_ ¢¢¢¢¢¢ ($12.00)
W ' ' Totai Cyc|e Service Charge ($12.00)
Thanl< you for banking With us FAGE 1 OF 2
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Case 1-17-46613-nh| Doc 48-1

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America's Most Convenient Bank°

 

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LECHA|M CAB CORP

DEP CASE 17-46647 EDNY
1281 CARROLL ST
BROOKLYN NY 11213

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Chapter 11 Checking

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Pege: 1 of 2
Statement Period'. Feb 01 201B-Feb 28 2018
Cust Ref #.'

Primary Account #;

Account #

 

ACCOUNT SUi~¢`i :'\.-1AR`1‘

 

 

 

 

 

Beginning Ba|ance 11.566.57 Average Co|lected Belance 13,816.57
E|ectronic Deposits 3.000.00 Interest Earned This Period 0_00
-- - interest Paid Year-to~Date 0_00 "

finding Be|ance 14.566.57 Annua| Percentage Yie|d Earned 0.00%
Days in Period 28

DA|L.Y ecco:,‘r»!“r ACTI\HTY

Electronic De posits

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02/08 CCD DEPOSIT, NAPASE| MANAGEN|E ACH PIVlT 5032569265 3,000.00

Subtotal: 3,000.00

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Case 1-17-46613-nh| Doc 48-1

 

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"~ MERAB CAB CORP
n D|F’ CASE 17-46619 EDNY

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STATE|'\J'|ENT OF ACCOUNT

Page: 1 of 2
Statement F’eriod: Feb 01 2018-Feb 28 2018

 

 

 

 

 

 

1281 CARROLL ST Cust Ref #:
BROOKLYN NY 11213 Primary Account #:
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§ Chapter 11 Checking
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DtP case 1'.'-46619 et)xv `
ACCOUNT sur/trvtARY
Beginning Ba|ance 11,166.56 Average Cotlected Ba|ance 11,266.56
Electronlc Depostts 2.800.00 lnterest Earned This Period 0.00
' ' ' Interest Paid Year-lo-Date 0.00
Ending Ba|ance 13,966.56 Annua| Percentage Yie|d Earned 0.00%
Days in Period 28
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Electronic Deposits
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02/28 CCD DEPOS|T, ACL N[EDALL|ON CORF’ F’AY 438 439 2,800.00
Subtotal: 2,800.00
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.Ce.ii 1-800-837-2080 for 251-hour Bank-by-Pnone services or connect to www.tdbank.com

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Case 1-17-46613-nh| Doc 48-1

 

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NY CANTEEN TAX| CORP
D|P CASE 17-46644 EDNY
1281 CARROLL ST
BROOKLYN NY 11213

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Chapter 11 Checking
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STATEMENT OF ACCOUNT

Page: 1 of 2
Stetement Period: Feb 01 2018-Feb 28 2018
Cust Ref #:

Primary Ac:count #'.

Acc:ount ;

 

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Beginning Ba|ance 11,566.57 Average Cotiected Baiance 13,441.57

E|ectronic Deposits 2,500.00 interest Earned This Period 0.00
interest F’eid Year~to-Date " 0.00

Ending Batence 14,066.57 Annuai Percentage Yieid Eamed 0.00%
Days in F’eriod 28

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Electronic Deposits

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Subtota|: 2,500.00

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Case 1-17-46613-nh| Doc 48-1

§§j§ Bank

America's Most Convenient Bank°

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NY E.NERGY TAX| CORP

D]P CASE 17-44645 EDNY

1281 CARRO!_L ST

BROOKLYN NY 11213

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Chapter 11 Checking
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F’age: 1 of 2
Statement Period.' Feb 01 2018-Feb 28 2018
Cust Ref #.'

Prirnary Account #:

Account #

 

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Beginning Ba|ance 9,558.57 Average Co||ected Balance 11 ,433.57

E|eclronic Deposits 2.500.00 interest Earned This Period 0.00
Interest'Paicl Year-to'~'Date 0.00

Ending Balance 12,058.57 Annua| Percentage Yie|d Earned 0.00%
Days in Pen`od 28

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Electronic Deposits

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02108 CCD DEPOSIT, NAPASE| MANAGEME ACH PMT 5032569272 2,500.00

Subtotai: 2,500.00

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01/31 9,558.57 02/08 12,058.57

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olP cnse 17-46@17 EDNY statement Period; Feb 01 2013-eab 25 2013
1281 cARROLL sT cust Rer #: =
BROOKL.YN NY 11213 PrimarYACCOunt #1

 

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Chapter 11 Checking

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1)1P CASE 17-466£7 EDNY

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Beginning Ba|ance 3,366.56 Average Co||ectect Baiance 4,766.58
Electronic Deposits 1 ,400.00 interest Earned This Period 0.00
- |nterest Paid Year-to-Dete ' 0.00
finding Balance 4,766.56 Annua[ Percentage Yie|d Earned 0.00%
Deys in Period 28
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E|ectt'onic Deposits
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02/01 CCD DEPOS|T, WA!L|NG MG|VET LESEE FEES 1,400.00
Subtota|: 1,400.00
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01 /31 3,366.56 02/01 4,766.56

 

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NY STANCE TAX| CORP Page: 1 cf 2
DIP CASE 17-46842 EDNY Statement Period: Feb 01 2018~Feb 28 2018
1281 CARROLL STREET Cust Ref #: \" ¢
BROOKLYN NY 11213 PrimaryAccount#:
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§ Chapter 11 Checking
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1)1P cnst-; 11-46642 cons
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Beginning Ba|ance 9,566.57 Average Co|iected Balance 11 ,441 .57
Electronic Deposits 2.500.00 interest Earned This Period 0.00
- ' Interest F’aid ¥ear~to-Date 0.00
Ending Ba!ance 12,086.57 Annual Percentage Yieid Earned 0.00%
Days in Period 28
D.B\:L‘.'nccour»n ACTlvtT‘r
E|ectronic Deposits
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02/08 CCD DEPOS|T, NAPASE| MANAGEME ACH PMT 5032589277 2,500.00
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01/31 9,566.57 02/08 12,066.57

 

Ceit 1 -800-831'-2000 for 24»hour Bank»by-Phone services or connect to www.tdbank.com

 

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NY T|NT TAX| CORP

D|P CASE 17"46641 EDNY
1281 CARROLL ST
BROOKLYN NY 11213

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Chapter 11 Checking
NY 'i'l!\"i"l"A.‘{I CORP
mr c,~\sr~. 11-4664: now

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ST!\T!EMENT OF ACCOLJNT

Pege: 1 012
Statement Period.' Feb 01 2018-Feb 28 2018
Cust Ref #: 42 1
PrimaryAccount #: 1

AGGOunt # '

 

 

ACCOUNT SUi‘\:tii,-iARY
Beginning Baiance 9,566.57
finding Ba|ance 9,566.57

Average Co|iected Baiance
interest Earned This Period
interest Peid Year-to-Date
Annuai Percentage Yieici Earned
Days in Period

9,566.57
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No Transactions this Staternent period

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DiP CASE 17-46640 EDNY Staternent Period: Feb 01 2018-Feb 28 2018
1281 cARROLt_ ST CList Ref #: #
eRooKi_YN NY 11213 Pf=mary ACCOunt #1
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Chapter 11 Checking
SOA»!\’.ASII TAXI l`NC Account # ;_
civ case 1746640 ED_\'Y
AC COUNT €~;U i~.'ii-¢1AR‘K
Beginning Baiance 11 ,504.57 Average Co|iected Baiance 13,754.57
Electronic Deposits 3,000.00 interest Eerneci This Perioc_:i 0.00
- - interest Peid Year-to-Date 0.00
Ending Baiance 14,504.57 Annuai Percentage Yieici Earned 0.00%
Days in Period 28
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Electronic Deposits
Posrir:c nine oesceiP'r:or\i nrviouwr
02/08 CCD DEPOSiT, NAPASE! MANAGENIE ACH PlViT 5032569276 3,000.00
Subtotai; 3,000.00
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01131 11,504.57 02/08 14,504.57

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services or connect to www.tdbeni<.com

 

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America's Most Convenient Bank° ']" STATEMENT .3[.: ACCQUNT
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TAN|AR CAB CORP Page: 1 of 2
D|F> CASE 17,4@516 EDNY Statement Period: Feb 01 "1'“° "--'- "“ ”"'\1§
1231 CARROL|_ ST C0st Ref#! 45 ._._w¢:vvs-. ,....,
enooi<i_YN NY 11213 anary ACCOUnt #1 ‘
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Chapter 11 Checking
'i‘_L-\rniz c.-\B coup Accounl #
r)iP cAsr=, 17-46616 ;~;DNY
.r‘-\CCOU i‘JT SUr\.-'i i\.'iARY
Beginning Ba|ance 11 ,168.56 Average Coitected Baiance 11,266.58
Eiectronic Deposits 2,800.00 interest Eemed This Period _ 0.00
' ` interest Paid ¥eer-io-Date 0.00
Ending Balance 13,988.56 Annua| Percentage Yieid Earned 0.00%
Days in Period 28
DAit_‘i’ ,"-.CC.OUNT ACTiViTY
Etectronic Deposits
Posrii\se tzan oEscRiP'nori nmounrr
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Subtotai: 2,800.00
ocno\’ emerson surnr~.»mrt'r
oan eni_ni\scE ome BALANCE
01/31 11,166.56 02/28 13,966.56

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